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     R.G., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children C.G. and N.G. No. 24SC337Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1613
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether the division erred in concluding that, under C.R.C.P.
      39(a)(3), Mother waived her right to an adjudicatory jury
      trial when she did not appear for the scheduled jury trial
      but her counsel was present and ready to proceed.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    